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UNITED STATES DISTRICT COURT F sea ED. aa
SOUTHERN DISTRICT OF MISSISSIPPI a J |
NORTHERN DIVISION | JUN 28 2990
ARTHUR IOHNSTON
EP
UNITED STATES OF AMERICA
¥ CRIMINAL NO. 3, 20C(77 DPS FEB
NEWTON WADE TOWNSEND 18 U.S.C. § 115(a)(1)(B)
The Grand Jury charges:

On or about June 1, 2020, in Hinds County in the Northern Division of the Southern
District of Mississippi and elsewhere, the defendant, NEWTON WADE TOWNSEND, did
threaten to murder B.T. and his staffers, a Member of Congress and United States officials, with
intent to impede, intimidate, and interfere with B.T. and his staffers while they were engaged in
the performance of their official duties, and to retaliate against B.T. and his staffers on account
of their official duties.

All in violation of Title 18, United States Code, Sections 115(a)(1)(B) and (b)(4).

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

As a result of committing the offense as alleged in this Indictment, the defendant shall
forfeit to the United States all property involved in or traceable to property involved in the
offense, including but not limited to all proceeds obtained directly or indirectly from the offense,
and all property used to facilitate the offense. Further, if any property described above, as a
result of any act or omission of the defendant: (a) cannot be located upon the exercise of due
diligence; (b) has been transferred or sold to, or deposited with, a third party; (c) has been placed
beyond the jurisdiction of the Court; (d) has been substantially diminished in value; or (e) has
been commingled with other property, which cannot be divided without difficulty, then it is the

intent of the United States to seek a judgment of forfeiture of any other property of the
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defendant, up to the value of the property described in this notice or any bill of particulars

supporting it.

All pursuant to Section 981(a)(1)(C), Title 18, United States Code, and Section 246

 
  
  

Title 28, United States Code.

 

D. MICHAEL HURST/JR. :
United States Attorney fl’
A TRUE BILL:
S/SIGNATURE REDACTED

Foreperson of the Grand Jury

This Indictment was returned in open court by the foreperson or deputy foreperson of the
Grand Jury on this the ,77’day of June, 2020.

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UNITED STATES MAGISTRATE JUDGE
